           Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 1 of 7




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 18-906V
                                      Filed: October 1, 2021

    * * * * * * * * * * * * *                  * *
    CATHERINE M. RABY,                           *
                                                 *         UNPUBLISHED
                 Petitioner,                     *
    v.                                           *         Decision on Joint Stipulation;
                                                 *         Guillain-Barre Syndrome (“GBS”);
    SECRETARY OF HEALTH                          *         Prevnar 13 Vaccine
    AND HUMAN SERVICES,                          *
                                                 *
             Respondent.                         *
    * * * * * * * * * * * * *                  * *

Nancy Meyers, Esq., Turning Point Litigation, Greensboro, NC, for petitioner.
Christine Becer, Esq., US Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

Roth, Special Master:

       On June 25, 2018, Catherine Raby [“Ms. Raby” or “petitioner”] filed a petition for
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleges that
she suffered from Guillain-Barre Syndrome (“GBS”) after receiving an Prevnar 13 vaccination on
June 2, 2016. Stipulation, filed Sep. 30, 2021 at ¶¶ 1-4. Respondent denies that the immunization
caused petitioner’s injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On September 30, 2021, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

1 Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision will
be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 2 of 7




Respondent agrees to issue the following payment:

           A lump sum of $85,000.00 in the form of a check payable to petitioner, Catherine
           Raby. This amount represents compensation for all damages that would b e available
           under § 300aa-15(a).

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision. 3

       IT IS SO ORDERED.

                                                    s/ Mindy Michaels Roth
                                                    Mindy Michaels Roth
                                                    Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                2
Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 3 of 7
Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 4 of 7
Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 5 of 7
Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 6 of 7
Case 1:18-vv-00906-UNJ Document 44 Filed 12/03/21 Page 7 of 7
